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1    Call Date:         11/29/2018

2    Call Duration: 04:13

3    Call Begin [] Call End []

4    Call Participants:

5         Rick Singer

6         Laurie

7    File Name:               8802 2018-11-29 17-39-37 12374-001

8    Bates No.:

9

10   LAURIE _: [00:00] Hello?

11   SINGER:    Laurie (sp?), it's Rick Singer.       How are you?

12   LAURIE _: I'm good, Rick, how are you?

13   SINGER:    Good.    The girls good?

14   LAURIE _: They're really good.       They love USC.    They're really

15        happy.

16   SINGER:    And are you on -- onsite, on -- whatev-- whatever --

17        um, filming now?       Are you at home?

18   LAURIE _: I'm at home right now actually.

19   SINGER:    Awesome.    Awesome.

20   LAURIE _: Yeah.     Yeah.

21   SINGER:    So I had -- I had talked to Moss (sp?) a couple, uh,

22        weeks ago that we were getting audited --

23   LAURIE _: Uh-huh.

24   SINGER:    -- our foundation.
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1    LAURIE _: Uh-huh.

2    SINGER:    So I -- I just -- and I'm -- I just tried reaching

3         out to -- so what I wanted to try to do is just make sure

4         that you guys know they went through all my -- a bunch of

5         folks and they're going to make calls to several families

6         and it looks like you guys are going to be one of those.

7         There'll probably be 8 or 9 that they're going to call.

8    LAURIE _: [01:00] OK.

9    SINGER:    Because they had this question about why did my

10        foundation get $200,000 2 consecutive years and then

11        nothing after that.     So I just want to make sure that you

12        know that, one, that you're probably going to get a call

13        and that I have not told them anything about the girls

14        going through the side door, through crew, even though

15        they didn't do crew to get into USC.        So I -- that is --

16        all I told them was that you guys made a donation to our

17        foundation to help underserved kids.

18   LAURIE _: Um-hmm.

19   SINGER:    And that's why you guys have done it.        And lots of

20        people don't make successive donations going forward.

21   LAURIE _: OK.   But I-- I'm confused.      But we -- so we made 2

22        donations 2 years in a row and so what are they

23        questioning?
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1    SINGER:      They're -- so they're questioning all -- they're

2         looking at all of my donations to my foundation.          [02:00]

3         OK?

4    LAURIE _: OK, uh-huh.

5    SINGER:      And so they went through everybody's and they

6         started looking at everybody and saying, "OK, why these

7         guys?    Why did these guys?     Who did these guys fund?        Why

8         did they do -- why did they do?"        So we went through

9         everybody --

10   LAURIE _: Um-hmm.

11   SINGER:      -- and they just picked out 10, 12 people and said,

12        "Hey, we're just going to follow-up with these folks and

13        ask them why they made a donation to your program," to

14        our foundation.

15   LAURIE _: Right.

16   SINGER:      So I said that's fine.    I said, "Can you give me

17        some idea of who those people are?"

18   LAURIE _: Right.

19   SINGER:      And your -- your guys were one of them.       And I said,

20        "Well, this is very clean.       They made a donation to our

21        foundation for underserved kids.        They're a great family.

22        They've been doing work all over LA.        Their kids are very

23        engaged in LA and I don't know why you guys think that

24        this is weird."     And they said, "It's not that we think
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1         it's weird.    We just want to follow-up as part of our

2         audit."    They're driving me crazy so far.       So I --

3    LAURIE _: Who's -- who's auditing you?

4    SINGER:    The IRS.

5    LAURIE _: [03:00]     Oh, OK.

6    SINGER:    Right.   The IRS audits foun-- large foundations and

7         we have so much money in our foundation and we give away

8         so much money they're -- they want to -- you know,

9         they're always worried about things going on in

10        foundations.

11   LAURIE _: I see.

12   SINGER:    So what I -- what I wa-- I told Moss already and I

13        wanted to make sure that you knew, as well, if they

14        happened to call you, is that nothing has been said about

15        the girls, um, your donations helping the girls get into

16        USC to do --

17   LAURIE _: OK.

18   SINGER:    -- crew even though they didn't do crew.         SO nothing

19        like that has been ever mentioned.

20   LAURIE _: (inaudible).

21   SINGER:    If you ever -- ever were to say anything.

22   LAURIE _: So we -- so we just -- so we just have to say we

23        made a donation to your foundation and that's it, end of

24        story.
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1    SINGER:    That is correct.

2    LAURIE _: OK.

3    SINGER:    Terrific.

4    LAURIE _: OK.

5    SINGER:    I just wanted to make sure I touched base because I

6         didn't want you --

7    LAURIE _: Yeah.

8    SINGER:    -- to all of a sudden what -- like what's this call

9         coming from.

10   LAURIE _: OK, yeah.    OK.     Totally.   All right.   So -- so

11        that's it.    So it's -- it's the IRS.      It's not anyone

12        from USC, it's the IRS.

13   SINGER:    [04:00] That is correct.

14   LAURIE _: OK.     Very good.

15   SINGER:    OK.

16   LAURIE _: All right.

17   SINGER:    All the best.

18   LAURIE _: All right.     Thank you, Rick.     Happy holidays.

19   SINGER:    You, too.   Take care.

20   LAURIE _: OK, thanks.

21   SINGER:    OK.    Bye-bye.

22   LAURIE _: Bye.    [04:13]

23

24                             END OF AUDIO FILE
